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 5
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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00155-MCE
11
                                  Plaintiff,             STIPULATION TO CONTINUE STATUS
12                                                       CONFERENCE AND EXCLUDE TIME PERIODS
                            v.                           UNDER SPEEDY TRIAL ACT; ORDER
13
     LUIS NUNEZ;                                         DATE: April 18, 2019
14   PABLO VARGAS; AND                                   TIME: 10:00 a.m.
     GREGORIO NUNEZ,                                     COURT: Hon. Morrison C. England, Jr.
15
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on April 18, 2019.
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            2.      By this stipulation, the parties move to continue the status conference until May 16, 2019,
20
     and to exclude time between April 18, 2019 and May 16, 2019, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that it has produced discovery in the form of
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            investigative reports, photographs, and audio files, which the defendants need time to review,
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            discuss with their counsel, and pursue investigation. The government has also represented that it
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            has made available to defense counsel additional electronic surveillance discovery, which the
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            defendants will also need time to review.
27
                    b)     Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny counsel the reasonable time necessary for effective preparation, taking
      STIPULATION TO CONTINUE STATUS AND EXCLUDE         1
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 1          into account the exercise of due diligence.

 2                  c)     Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendants in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  d)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period of April 18, 2019 to May 16, 2019,

 7          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 8          because it results from a continuance granted by the Court at defendants’ request on the basis of

 9          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

10          of the public and the defendant in a speedy trial.

11          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
13 must commence.
14          IT IS SO STIPULATED.

15   Dated: April 16, 2019                                    MCGREGOR W. SCOTT
                                                              United States Attorney
16
                                                              /s/ JAMES R. CONOLLY
17                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
18
19   Dated: April 16, 2019                                    /s/ Armando Villapudua
                                                              ARMANDO VILLAPUDUA
20                                                            Counsel for Defendant
                                                              Luis Nunez
21
22   Dated: April 16, 2019                                    /s/ T. Lance Archer
                                                              T. LANCE ARCHER
23                                                            Counsel for Defendant
                                                              Pablo Vargas
24
     Dated: April 16, 2019                                    /s/ Mario Rodriguez
25                                                            MARIO RODRIGUEZ
26                                                            Counsel for Defendant
                                                              Gregorio Nunez
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          2
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 1                                                     ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds the
 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
 5 preparation, taking into account the exercise of due diligence. The Court further finds the ends of justice
 6 are served by granting the requested continuance and outweigh the best interests of the public and

 7 defendant in a speedy trial.
 8          Time from the date the parties stipulated, up to and including May 16, 2019, shall be excluded

 9 from computation of time within which the trial of this case must be commenced under the Speedy Trial
10 Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code T4). It is further ordered that the
11 April 18, 2019 status conference shall be continued until May 16, 2019, at 10:00 a.m.
12          IT IS SO ORDERED.

13 Dated: April 22, 2019
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE           3
30    TIME; ORDER
